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         In the United States Court of Federal Claims
                                           No. 09-693T
                                      (Filed June 11, 2010)


*******************************
SEAN M. LIU,                  *
                              *
            Plaintiff,        *              Individual income tax; nonresident alien;
                              *              statute of limitations; Clerk‟s Office date stamp;
      v.                      *              Priority Mail; “due course of the mails”;
                              *              Charlson Realty Co. v. United States, 384 F.2d 434
THE UNITED STATES,            *              (Ct. Cl. 1967).
                              *
            Defendant.        *
                              *
*******************************

Jun Kang, New York, New York, for Plaintiff.

Mark A. Ryan, Court of Federal Claims Section, Tax Division, United States Department of
Justice, Washington, D.C., counsel of record for Defendant, with whom were John A. DiCicco,
Acting Assistant Attorney General and Steven I. Frahm, Chief, Federal Claims Section, United
States Department of Justice, Washington, D.C.; of counsel was G. Robson Stewart, Assistant
Chief, Court of Federal Claims Section, United States Department of Justice, Washington, D.C.


                                   ______________________

                                   OPINION AND ORDER
                                   ______________________


DAMICH, Judge

       Plaintiff Sean M. Liu has filed suit against the United States for the return of income tax
under 26 U.S.C. § 6511(a), (d)(3). Defendant United States (“the Government”) now moves the
Court, pursuant to Rule 12(b)(1) of the Rules of the Court of Federal Claims (“RCFC”), to
dismiss this action for lack of subject matter jurisdiction because the complaint was not timely
filed. Plaintiff cross-moves the Court to correct the filing date of his complaint.

      For the reasons set forth below, the Court DENIES the Government‟s motion to dismiss
and GRANTS Plaintiff‟s motion to correct the filing date.
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    I.     Background

           Plaintiff Sean M. Liu is a nonresident alien currently living in Hong Kong. Compl. ¶
3. He was a resident alien in the United States for part of the taxable year ending December 31,
2003. Id. ¶ 4. On or about September 19, 2007, he filed a U.S. federal income tax return on
Forms 1040NR and 1040 as a dual status resident. 1 Id. ¶ 7. This return showed an overpayment
of $26,241. Id.

              On October 12, 2007, the Internal Revenue Service (“IRS”) disallowed Plaintiff‟s
claim for the refund and informed him of the decision via letter. Id. ¶ 10. The IRS denied the
claim because Plaintiff had failed to file the claim within the three-year limitation of 28 U.S.C.
§ 6511(a). The October 12, 2007, letter informed Plaintiff that he had two years from the date of
the letter to file a claim with this Court and that the filing of a concurrent administrative appeal
with the IRS at any time within the two years did not change the end date of the period. Compl.
Ex. A.

           On May 18, 2009, Plaintiff, through his attorney, Mr. Jun Kang, filed an
administrative appeal with the IRS with respect to the claim for refund. Id. ¶ 11. As of March
15, 2010, the date of Plaintiff‟s last filing, Plaintiff has not yet received a response from the IRS
regarding his appeal. Pl.‟s Reply in Support of His Cross-Motion to Correct the Filing Date
(Pl.‟s Reply) at 5.

             According to the stamp placed on the complaint by the Clerk‟s Office, Plaintiff filed
his complaint with this Court on October 14, 2009. The complaint alleges that Plaintiff is
entitled to a refund in the amount of $26,241 under 26 U.S.C. § 6511(a) and (d)(3). Compl. ¶¶
7, 9. The complaint was filed pro se by Plaintiff, care of Mr. Kang.2 See Compl. at 2. Plaintiff
states that he wrote the complaint in Hong Kong and then mailed it to Mr. Kang, a practicing
attorney in New York, to review and mail to the Court in order to ensure that it would not be
rejected. Pl.‟s Reply at 4. The date stamp placed on the complaint by the Clerk‟s Office,
therefore, indicates that the complaint was filed one day after the expiration of the limitations
period.

           On January 21, 2010, in lieu of an answer, the Government filed the instant motion to
dismiss for lack of subject matter jurisdiction pursuant to RCFC 12(b)(1). On February 25,
2010, Plaintiff filed a response and the instant cross-motion to correct the filing date of the
complaint. On March 5, 2010, the Government filed a reply and a response to Plaintiff‟s cross-
motion. On March 15, 2010, Plaintiff filed a reply in support of Plaintiff‟s cross-motion.


1
 The Government‟s Motion to Dismiss states that the tax return was filed on September 21,
2007. Def.‟s Motion at 2. Plaintiff‟s Reply and Cross-Motion states that Plaintiff filed the tax
return on September 17, 2007. Pl.‟s Reply and Cross-Motion at 2.
2
 When Plaintiff filed his complaint in this Court, he was acting pro se, with Mr. Kang‟s
assistance in a non-legal capacity. Mr. Kang did not become Plaintiff‟s counsel of record until
January 13, 2010, after the filing of the complaint.

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II.    Standard of Review

        Subject matter jurisdiction is a threshold matter which may be challenged at any time by
the parties, the Court sua sponte, or on appeal. Arbaugh v. Y&H Corp., 546 U.S. 500, 506-508
(2006); Folden v. United States, 379 F.3d 1344, 1354 (Fed. Cir. 2004); Fanning, Phillips &
Molnar v. West, 160 F.3d 717, 720 (Fed. Cir. 1998). “The requirement that jurisdiction be
established as a threshold matter „spring[s] from the nature and limits of the judicial power of the
United States and is „inflexible and without exception.‟” Steele Co. v. Citizens for a Better Env’t,
523 U.S. 83, 94-95 (1998) (quoting Mansfield, Coldwater & Lake Mich. Ry. v. Swan, 111 U.S.
379, 382 (1884)).

        When the Court‟s subject matter jurisdiction is put into question, the plaintiff bears the
burden of showing jurisdiction by a preponderance of the evidence. Knight v. United States, 65
Fed. App‟x 286, 289 (Fed. Cir. 2003); Reynolds v. Army & Air Force Exch. Serv., 846 F.2d 746,
748 (Fed. Cir.1988). In ruling on a motion to dismiss for lack of subject matter jurisdiction, the
Court must accept as true all well-pleaded facts alleged in the complaint and draw all reasonable
inferences in the plaintiff‟s favor. Scheuer v. Rhodes, 416 U.S. 232, 236 (1974), abrogated on
other grounds by Harlow v. Fitzgerald, 457 U.S. 800, 814-15 (1982); Godwin v. United States,
338 F.3d 1374, 1377 (Fed. Cir. 2003); Boyle v. United States, 200 F.3d 1369, 1372 (Fed. Cir.
2000). If the movant challenges the factual basis for jurisdiction as set forth in the complaint, the
Court may inquire into those facts and examine evidence outside the pleadings to determine if
jurisdiction exists. RHI Holdings, Inc. v. United States, 142 F.3d 1459, 1461-62 (Fed. Cir.
1998); Rocovich v. United States, 933 F.2d 991, 993 (Fed. Cir. 1991). If jurisdiction is found to
be lacking, this Court must dismiss the action. RCFC 12(h)(3).

        When a complaint is filed pro se, the Court holds the pleadings of such plaintiffs to “less
stringent standards than formal pleadings drafted by lawyers” and liberally construes those
pleadings. Haines v. Kerner, 404 U.S. 519, 520 (1972). The Court, however, cannot extend this
leniency to relieve plaintiffs of their jurisdictional burden. Kelley v. Sec’y, United States Dep’t
of Labor, 812 F.2d 1378, 1380 (Fed. Cir. 1987).


III.   Discussion

        The Court of Federal Claims has jurisdiction to determine claims seeking refunds of taxes
paid, insofar as Congress has waived sovereign immunity in tax refund matters, pursuant to 28
U.S.C § 1491. That jurisdiction is limited by prerequisites set forth by Congress. Flora v.
United States, 357 U.S. 63, 69-72 (1958), aff’d on reh’g, 362 U.S. 145 (1960). In refund claims,
28 U.S.C. § 6532(a) establishes such a prerequisite. Section 6532(a) states:

               (1) General rule: No suit or proceeding under § 7422(a) for the
                   recovery of any internal revenue tax, penalty, or other sum,
                   shall be begun . . . after the expiration of 2 years from the date
                   of mailing by certified mail or registered mail by the Secretary
                   to the taxpayer a notice of the disallowance of the part of the
                   claim to which the suit or proceeding relates.


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         Plaintiff received notice of the disallowance of his claim on October 12, 2007. Compl.
Ex. A. October 12, 2009 was Columbus Day, a federal holiday. Pursuant to RCFC 6(a)(3), the
last day of the two-year period was then the next full business day, Tuesday, October 13, 2009.
The parties agree that the two-year period of § 6532(a) applies in this case and that the statute of
limitations period expired on October 13, 2009. The Government contends that jurisdiction is
lacking because Plaintiff‟s complaint was marked received by this Court on October 14, 2009 –
one day late - and the claim is therefore barred by § 6532(a). Plaintiff urges this Court to correct
the filing date of the complaint to October 13, 2009, the last day of the period, because his
complaint was in fact received on October 13, 2009 or should be presumed to have been received
October 13, 2009.

       A. Factual Dispute Regarding Date of Receipt of Complaint

        RCFC 3 states that “a civil suit is filed when received by the clerk.” Plaintiff first argues
that his complaint was in fact received on Tuesday, October 13, 2009. As evidence for this fact,
Plaintiff relies on a label creation page printout from the United States Postal Service (“USPS”)
website, a track-and-confirm printout providing delivery confirmation from the same website,
the credit card bill of Mr. Kang, and an affidavit from Mr. Kang regarding the mailing of the
envelope containing the complaint. Pl.‟s Exs. C, E, G, and D. In the affidavit, Mr. Kang states
that the complaint was placed “in a sealed flat rate United States priority mail envelope with
prepaid shipping label on October 7, 2009” and that “the mail was accepted by the Postal Service
on or before October 8, 2009 at New York, New York.” Pl.‟s Ex. D, Kang Aff. ¶¶ 1, 5. Mr.
Kang also states that the mailing label placed on the envelope containing the complaint was the
shipping label created October 7 from his account that bore the tracking number 9405 5036 9930
0007 2073 64. Id. ¶¶ 2, 3, and 4. The track-and-confirm delivery confirmation accessed via the
“Track & Confirm” feature on the USPS website (usps.com) states that the envelope with the
shipping label created October 7 was “delivered at 2:00 PM on October 13, 2009 in
WASHINGTON, DC 20005.” Pl.‟s Ex. E. Based on this confirmation, Plaintiff argues that the
envelope containing his complaint was received by this Court on October 13.

        The Government agrees that “something” was delivered in the 20005 zip code area on
October 13, 2009, but contends that Plaintiff has not demonstrated that the complaint was in the
envelope bearing the label created October 7 or that the envelope was received by the Clerk‟s
Office on October 13. Def.‟s Combined Reply and Response at 10. The Government disputes
the validity of Mr. Kang‟s affidavit because it does not state that he personally assembled or
mailed the package and thereby fails the personal knowledge requirement set forth in Rule 602
of the Federal Rules of Evidence (“FRE”). The Government also argues that the track-and-
confirm page does not prove that the package in question was received at the specific address of
the Court on that date, but only shows that it was in the 20005 zip code. The stamp placed on the
complaint by the Clerk‟s Office indicates, to the contrary, that the complaint was received on
October 14, 2009.




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       The Government‟s FRE 602 objections to the affidavit are unfounded.3 While Mr.
Kang‟s affidavit does not specifically state that he personally mailed the envelope, Plaintiff has
twice asserted that Mr. Kang personally mailed the complaint. Pl.‟s Reply at 2. Drawing all
reasonable inferences for Plaintiff, the Court therefore accepts for the purposes of this motion
that Mr. Kang mailed the complaint in the Priority Mail envelope with the mailing label created
October 7 and with the tracking number 9405 5036 9930 0007 2073 64.4

        The track-and-confirm printout, however, fails to prove by a preponderance of the
evidence that the Priority Mail envelope containing the complaint was in fact received by the
Clerk‟s Office on October 13, 2009. The delivery confirmation merely states, ambiguously, that
there was a delivery “in” the general zip code area at 2:00 p.m. on October 13. Pl‟s Ex. E.
Plaintiff has presented no evidence of any other return receipt or signature by an employee of the
Court indicating date and time of delivery. The only record of receipt of the mailing at this
Court is the stamp placed on the complaint by the Clerk‟s Office, which gives October 14, 2009
as the date received and filed. Without further evidence regarding delivery to this Court,
Plaintiff has not established that the complaint was in fact received on October 13, 2009.

       B. Properly Sealed, Addressed, and Deposited Mailing Presumed to Arrive in Due
          Course of the Mails

        Plaintiff argues that, even if he is unable to prove that his complaint was received on
October 13, he is entitled to a presumption that his complaint was timely filed by virtue of the
precedent of Charlson Realty Co. v. United States, 384 F.2d 434 (Ct. Cl. 1967). The Court of
Claims in Charlson affirmed in a plurality opinion the “well-established presumption that a letter
which is properly sealed, stamped, addressed, and deposited in the United States Mails is
presumed to reach the addressee and be received by him in due course of the mails.”5 Id. at 442.
The case involved a factually similar situation in which the taxpayer sought to file a complaint
after a notice of disallowance, and the two-year limitations period of § 6532(a) applied. Id. at
438. The complaint was mailed on November 30 from Minnesota and was marked as filed by
the Clerk on December 7. Id. at 438-39. Based on testimony from USPS employees regarding
the usual course and delivery times for mail traveling from Minnesota to D.C., the court
concluded that the “due course of the mails” would have placed the complaint at the Court prior
to December 7 and that the complaint should therefore be presumed to have been received before
3
 The Government suggests that the Court could choose to hold an evidentiary hearing on the
objections it raises with regard to Mr. Kang‟s affidavit. Def.‟s Combined Reply at 1, n. 1. The
purpose of a hearing would appear to be to have Mr. Kang more clearly state that he is the
individual who mailed the complaint, a fact that his affidavit and Plaintiff‟s filings already
suggest. Such a hearing is not necessary to resolve the issues presented in the present motions.
4
 The envelope in which the complaint arrived was not retained by the Clerk‟s Office. The
affidavit of Mr. Kang is therefore the only evidence offered to show that the complaint was
placed in the Priority Mail envelope bearing this mailing label.
5
 Decisions from the Court of Claims are binding precedent for the Court of Appeals for the
Federal Circuit and for this Court. South Corp. v. United States, 690 F.2d 1368, 1370 (Fed. Cir.
1982) (en banc).

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the expiration of the period. Id. at 441, 445. The court also stated that the date stamp applied by
the Clerk or testimony about the usual customs of the Clerk‟s Office in stamping complaints is
not sufficient evidence to rebut the presumption of timely delivery. Id. at 444. The presumption
can be rebutted only by “convincing and uncontradicted evidence” showing “positive proof” that
the mail did arrive late. Id. at 445.

         The presumption in Charlson was the basis of former Rule 3(b)(2). This rule stated that a
party plaintiff may seek a corrective order to change the complaint filing date and, in Part C,
listed the requirements for granting such an order:

               (2)(C) In a situation where a complaint is stamped by the clerk
               after the last date allowed by a statute of limitations for the filing
               of the complaint, if the complaint was received by the clerk
               through the mail, it may, by order of the court, upon motion of the
               party plaintiff, be deemed to have been filed on the last date
               allowed if there is a proper showing
                      (i) that the complaint was sent by registered or certified
                      mail, properly addressed to the clerk of the court at 717
                      Madison Place, N.W., Washington, D.C. 20005, and with
                      return receipt requested;
                      (ii) that it was deposited in the mail sufficiently in advance
                      of the last date allowed for filing to provide for receipt by
                      the clerk on or before such date in the ordinary course of
                      the mail; and
                      (iii) that the party plaintiff as sender exercised no control
                      over the mailing between the deposit of the complaint in
                      the mail and its delivery.


This rule was recognized as a codification of the presumption discussed in Charlson. See Carter
v. United States, 15 Cl. Ct. 753, 755 (1988) (“Rule 3(b) represents the Court‟s adoption of a rule
to conform to the standard set forth in Charlson Realty Co. v. United States . . .”); White Buffalo
Const. Inc. v. United States, 28 Fed. Cl. 145, 147 (Cl. Ct. 1992) (citing Charlson as the source
for the “rebuttable presumption” in Rule 3(b)(2)(C)).

       The 2002 Amendments to the RCFC, however, removed 3(b). The Notes to the 2002
Amendments state that 3(b) was removed in order to have RCFC 3 better conform to the
equivalent rule in the Federal Rules of Civil Procedure and because it was “inappropriate to
include a rule of decision as part of a procedural rule.” Despite this change, the Government
does not explicitly challenge the status of Charlson as binding law.6 The Government instead

6
 The Government has referred to Charlson as “the standard the Court used to use to determine
whether to change the filing date of a mailed complaint.” Def.‟s Motion at 6 (emphasis added).
However, the Government has argued only that former Rule 3(b)(2) does not apply and has


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contends that Plaintiff is not entitled to the presumption in Charlson.

       i) The Complaint Was Properly Sealed, Stamped, Addressed, and Deposited.

        First, the Government argues that Plaintiff is not entitled to the presumption because he
has failed to show that the complaint was properly sealed, stamped, addressed, and deposited in
the mail. This requirement is clearly part of the language of the presumption stated in Charlson.
In Charlson, there were extensive findings made by a Trial Commissioner regarding the mailing,
and the court accepted that it was properly mailed without further discussion. 181 Ct. Cl. at 441.
Charlson discussed with approval Rosengarten v. United States, 181 F. Supp. 275 (Ct. Cl. 1960),
a previous case that had not applied any presumption of timely delivery based on a failure to
demonstrate proper mailing. In Rosengarten, the mailing at issue was a refund claim that had
supposedly been mailed over eight years before the time of trial but was not in the IRS records.
181 F. Supp. at 277-78. The accountant who mailed the forms could not testify specifically
about how he had affixed postage and mailed the documents. The court found this testimony to
be insufficient to demonstrate proper mailing. Id. at 278.

        The Government argues that this case is similar to Rosengarten because Mr. Kang‟s
affidavit fails to state explicitly and definitely that the mail was properly sealed, stamped,
addressed, and deposited. It contends that the affidavit does not state that Mr. Kang himself
sealed the envelope containing the complaint, made the mailing label for it, placed the mailing
label on the envelope, or properly mailed the complaint from a specific Postal Office at a specific
time. Although Mr. Kang‟s affidavit may be more generalized than the Government would
prefer, he swears in it that he took the necessary steps for proper mailing. Kang Aff. ¶¶ 1-5.
Unlike the claim in Rosengarten, the complaint does exist in the Court‟s records, indicating that
it was properly mailed as it did eventually reach the intended destination. In Rosengarten, the
accountant‟s inability to provide details about the mailing was crucial to the decision because
there was no record of the claim and his testimony was the only evidence that it was properly
mailed at all.

        Additionally, affidavits have been accepted as a means of establishing proper mailing. In
Carter v. United States, 15 Cl. Ct. 753, 754 (1988), the affidavit of the plaintiff‟s attorney stated
only that the complaint had been properly addressed and mailed. The court accepted the
affidavit as meeting the first requirement of then-existent Rule 3(b)(2)(C) which contained
provisions on proper mailing. Similarly, in Texas Mex Brick & Import Co. v. United States, 371
F. Supp. 579, 582-84 (Cust. Ct. 1974), the Customs Court found that affidavits submitted by the
plaintiff, and not contested by the defendant, were sufficient to establish that a package was
properly mailed and to meet the requirements of a Customs Court rule based on Rule 3(b)(2)(C).
The Court finds Mr. Kang‟s affidavit to be sufficient evidence of proper mailing. Although the
affidavit is not precisely drafted, Mr. Kang‟s general statements regarding the mailing are similar
to those relied on and found sufficient in Carter. 15 Cl. Ct. at 754. As a practical matter, more
specific evidence of how the mailing of this complaint was accomplished is unlikely to be
available because the Clerk‟s Office did not retain the envelope. It can be reasonably inferred

accepted Charlson as binding as a premise for its later arguments. See Def.‟s Combined Reply at
6.

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that Mr. Kang mailed the complaint, and the Court accepts his statements in the affidavit
regarding the mailing as establishing that the complaint was properly sealed, stamped, addressed,
and deposited in the mail in New York, New York on or before Thursday, October 8.


       ii) The Complaint Was Mailed in Sufficient Time to Reach the Court in Due Course of
       the Mails.

        Second, the Government contends that Plaintiff has failed to meet the corollary
requirement that the mail in question have been sent “in plenty of time” to reach the addressee to
establish entitlement to the Charlson presumption. Charlson, 384 F.2d at 445. The presumption
stated in Charlson specifically requires that the complaint must have been sent such that it would
have arrived on time in “due course of the mails.” Id. at 442. In reaching its decision, the court
in Charlson focused on this requirement for the presumption by considering whether there was
any evidence of “negligence” by the plaintiff and by relying specifically on testimony from
Postal Service employees about when the package in question should have arrived. Id. at 441,
445. The Charlson court also noted that the presumption “cannot be overturned or rebutted by
speculation or suspicion. It can only be destroyed or overcome by convincing and
uncontradicted evidence to the contrary which clearly and distinctly establishes a fact so that
reasonable minds can draw but one inference.” Id. at 444.

        Former Rule 3(b)(2)(C)(ii) contained a similar requirement that the Court determine that
the mail was sent “sufficiently in advance” so as to be received before the end date of the
limitations period before correcting the filing date. While Plaintiff disputes that there is any
additional requirement beyond proper mailing, the language and subsequent interpretation of
Charlson do require that the sender demonstrate an objectively reasonable expectation that the
package will arrive on time based on the normal operation of the mail in order to be entitled to
the strong presumption.

        The complaint in this case was mailed on Thursday October 8, 2009. Kang Aff. ¶ 5. The
label creation page gives a shipping date of October 8, and the track-and-confirm printout shows
that the envelope was sorted in New York at 7:58 p.m. on October 8, 2009. Pl.‟s Exs. C and E.
With a mailing date of October 8, Plaintiff allowed three full business days for the complaint to
reach this Court.7 The question, then, is whether three days was a reasonable time to allow for
7
 Plaintiff argues that he left five days for the complaint to reach this Court, and the Government
contends that he allowed only one full business day. See Pl.‟s Reply at 4; Def.‟s Combined
Reply at 9. Pursuant to FRE 201(b), the Court takes judicial notice of the statements appearing
on the USPS website regarding business days for the Postal Service. See Global Computer
Enterprise, Inc. v. United States, 88 Fed. Cl. 52, 70, n. 30 (Fed. Cl. 2009) (stating that judicial
notice can be taken of factual material available on the Internet). The USPS website states that
the Postal Service business days are Monday through Saturday every week, excluding Postal
holidays. See United States Postal Service, Frequently Asked Questions, “Postal Business Days”
(2010), http://faq.usps.com/eCustomer/iq/usps/request.do?create=kb:USPSFAQ (search “Postal
Business Days”; then follow first hyperlink under “Search Results”). The complaint therefore
had Friday, October 9, Saturday, October 10, and Tuesday, October 13 to reach this Court.


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the complaint to be received by this Court on Tuesday, October 13.

        This question requires the Court to examine what the usual course of the mail is for a
Priority Mail envelope traveling from New York to Washington, D.C. In previous cases,
litigants have sought to establish the course of the mails through testimony and affidavits from
USPS employees. In Charlson, expert testimony from Post Office employees that the package
would have arrived one, two, or even three days prior to the last date under the limitations period
informed the court‟s decision to apply the presumption. Id. at 441. In Carter, the court found
that the plaintiff‟s attorney‟s statement that two days was a reasonable period to allow for the
complaint to reach the court was not sufficient, particularly when the defendant had offered the
affidavit of a USPS employee stating that ordinary delivery time was three days. In Ross v.
United States, 16 Cl. Ct. 378, 382 (Cl Ct.. 1989), oral assurances made to the plaintiff by a postal
worker were not sufficient to convince the court that the complaint was timely mailed.

        No affidavits from USPS employees have been presented by either party in this case, and
instead Plaintiff has relied on information from the USPS website which states that Priority Mail
arrives in two to three days. Pl.‟s Ex. J. This delivery time is not guaranteed.8 The statements
on the USPS website, however, are statements to the public that are intended to guide customers
in selecting mailing options and are relied on by USPS customers when making decisions about
how to mail their documents. Even without a specific guaranteed delivery date, the USPS in
effect represents to the public that the ordinary course of the mail for Priority Mail is two to three
days. The Court cannot conclude that Plaintiff acted unreasonably in entrusting his complaint to
be mailed by his agent via Priority Mail on October 8, 2009.

        Statutes of limitations for tax refunds “are established to cut off rights, justifiable or not,
that might otherwise be asserted and they must be strictly adhered to by the judiciary.”
Kavanagh v. Noble, 332 U.S. 535, 539 (1947). However, the right to a day in court is “one of
the most highly prized rights” in the United States. Charlson, 181 Ct. Cl. at 448 (Jones, J.
concurring). As Judge Yock warned in Ross, the court must be wary of depriving plaintiffs of
that right especially when considering an issue of “form” instead of “substance.” 16 Cl. Ct. at
383. This Court is one of national jurisdiction and receives complaints from across the United
States and from different parts of the world. The mail remains a popular means of filing claims,
especially when filed pro se. The complaint in the present case is just such a complaint: it was
filed pro se and traveled from Hong Kong to New York to D.C. to reach this Court. The opinion
in Charlson eloquently summarized the justification for allowing plaintiffs the benefit of the
presumption regarding the arrival of their complaints:

               All that [petitioners] can do is mail their petitions in time to arrive
               at the court in due course of the mails, or journey to Washington
               and deliver them in person to the clerk. The latter course is far too
               expensive, time-consuming, and inconvenient to be expected of
               them. Consequently, every reasonable presumption of the arrival
8
 See UNITED STATES POSTAL SERVICE DOMESTIC MAIL MANUAL, 123- 2.2 “Service Objectives
for Priority Mail” (May 2008), available at http://pe.usps.com/text/dmm300/dmm300_
landing.htm (“The USPS follows uniform guidelines for distributing and delivering mail but
does not guarantee delivery within the specified time”).

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               of a petition in due course of the mails when sent to the court by
               mail should be indulged in by this court.

       181 Ct. Cl. at 445.

        Plaintiff here is entitled to the presumption that his complaint was timely filed.
The Government has offered only the stamp placed on the complaint by the Clerk‟s Office to
rebut this presumption, which is not the affirmative evidence that Charlson requires for rebuttal.
181 Ct. Cl. at 444. The complaint is therefore presumed to have arrived on October 13, 2009.


IV.     Conclusion

For the reasons set forth above, the Court DENIES Defendant‟s motion to dismiss pursuant to
RCFC 12(b)(1) and GRANTS the Plaintiff‟s motion to correct the filing date.

 The Clerk of the Court is directed to correct the date of the filing of the complaint to October 13,
2009.


                                                      s/ Edward J. Damich
                                                      EDWARD J. DAMICH
                                                      Judge




                                                 10
